

Matter of Kessler (2024 NY Slip Op 02480)





Matter of Kessler


2024 NY Slip Op 02480


Decided on May 3, 2024


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on May 3, 2024
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: LINDLEY, J.P., OGDEN, NOWAK, DELCONTE, AND KEANE, JJ. (Filed Apr. 15, 2024).


&amp;em;

[*1]MATTER OF ROBERT WOODRUFF KESSLER, AN ATTORNEY, RESIGNOR.



MEMORANDUM AND ORDERApplication to resign for non-disciplinary reasons accepted and name removed from roll of attorneys.








